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FHED P»`r § etc
IN THE UNITED STATES DISTRICT COURT ` '

  

FOR THE WESTERN DISTRICT OF TENNESSEE 05 111qu _9 pH I. U l
WESTERN DIvIsIoN `
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PHILLIP E. BOYNTON, et al., ) `L:jL-EW':» '-~‘-'j- \ CT.
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) 6 ) f
Plaintiffs, )
)
V. ) NO. 02-]1]1 Ml/An
)
HEADWATERS, INC., et al., )
)
Defendants. )

 

REPORT AND RECOMMENDATION

 

Before the Court is Plaintiffs’ Motion to Cornpel filed on Decernber 17, 2004. United
States District Judge Jon P. McCalla referred this matter to the Magistrate Judge for a report and
recommendation For the reasons set forth below, the Court recommends the Motion be
GRANTED in part and DENIED in part.

BACKGROUND

This supplemental report and recommendation involves Plaintit`fs’ request for production
of documents On February 15, 2005, the Court entered a report and recommendation, Which was
adopted in full by Judge McCal]a. The report and recommendation required Plaintiffs and
Defendant Headwaters, lnc. (“Headwaters”) to meet and confer and to attempt to resolve this
discovery dispute If the parties Were unable to resolve the discover dispute, HeadWaters Would
be entitled to produce documents to the Court for an in camera review.

Defendant Headwaters, Inc. (“Headwaters”) provided an initial privilege lo,€:,r in October

2002 and produced certain documents to P}aintiffs in May 2003', however, Plaintiffs argue that

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Headwaters should produce additional documents from the law firm of Workman, Nydegger &
Seeley, Headwater’s counsel (“the Workman files”). Headwaters identified some of the
Workman files in a supplemental November 4, 2004 privilege log, and it is these documents
which are in dispute As mentioned in the February report and recommendation:

Plaintiffs argue that the supplemental privilege log identifies documents which
should have been listed on the initial privilege log, thus these documents should
be produced to Plaintiffs. Plaintiffs also argue that Headwaters relies on the work
product doctrine, even though some of the documents were created prior to the
initiation of this litigation ln other cases, Plaintiffs state that Headwaters relies
on the attorney-client privilege without listing the source of the information.
Plaintiffs also state that some documents which are “internal documents not
transmitted from or to Headwaters” are not privileged and should be produced
Plaintiffs finally argue that Headwaters did not produce redacted versions of some
documents lnstead of removing only those sections or sentences that were
subject to a privilege, Plaintif`fs argue that Headwaters relied on a blanket
assertion of privilege applicability for entire documents

Headwaters responded to Plaintiffs’ Motion and stated that it anticipated litigation
on at least three different fronts relating to the complained-of transaction As
such, Headwaters argues that none of the 21 documents at issue in this motion are
relevant to Plaintiffs’ claims Headwaters has asked the Court to review all 21
documents listed in the supplemental privilege log, and Headwaters states that
after review, the Court should determine that none of the documents relate to
Plaintiffs’ claim. Headwaters also points out in their Response that Plaintif`fs’
counsel refused to confer in good faith prior to filing this Motion. Headwaters
notes that some of the 21 documents may not need to be produced to the Court in
camera “if Plaintiffs’ counsel is willing to conduct the type of meaningful
consultation with opposing counsel contemplated by the local rules.” (Resp. to
Mot. to Compel, at 2).

Plaintiffs have requested the Court enter an order compelling Headwaters to
produce previously Withheld documents, or to submit these documents to the
Court for an in camera review. In the latter case, Plaintiffs request the Court
determine if a privilege applies to each document If` a privilege does not apply,
Plaintiffs ask the Court to order Headwaters to produce the documents

Report and Recommendation, Boynton v. Headwaters, Civil No. 02-1111 Ml/An (W.D. Tenn.

Feb. 16, 2005).

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The parties met and attempted to resolve the discovery dispute but failed to reach
agreement with respect to three documentsl Headwaters produced these documents to the Court
for an in camera review, and l-Ieadwaters argues these documents are protected by either the
attorney-client privilege, the work product doctrine, or both.

ANALYSIS
I. Applicable Legal Standard

A court can enter an order compelling discovery when the opposing party improperly
relies on a privilege and refuses to produce documents See Fed. R, Civ. P. 37(a)(2). “Panies
may obtain discovery regarding any matter, not privileged, that is relevant to the claim or defense
of any party . . . . F or good cause, the court may order discovery of any matter relevant to the
subject matter involved in the action.” Fed. R. Civ. P. 26(b)(1). Relevancy, for purposes of Fed.
R. Civ. P. 26(b)(1), means “appears reasonably calculated to lead to the discovery of admissible
evidence.” Fed. R. Civ. P. 26(b)(1); see also Coleman v. Am. Red Cross, 23 F.3d 1091, 1097
(6th Cir. 1994). In this Circuit, the scope of discovery is extremely broad under the Federal
Rules of Civil Procedure and “is . . . within the broad discretion of the trial court.” Lewis v. ACB
Busz'ness Servs. Inc., 135 F.3d 389, 402 (6th Cir. 1998).

One district court has noted that “the party resisting discovery bears the burden of
demonstrating that the requested discovery . . . does not come within the broad scope of
relevance as defined under Fed. R. Civ. P. 26(b)(1) . . . .” Etz'enne v. Wolverz'ne Tube, Inc., 185
F.R.D. 653, 656-57 (D. Kan. 1999) (quoting Aramburu v. Boez'ng Co., No. 93-4064-SAC, 1994

WL 810246, at *1 (D. Kan. Sept. 22, 1994)). ln this matter the parties met and attempted to

 

lAs a result of the meet and confer, Headwaters produced 18 of the 21 documents in dispute.

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resolve this discovery dispute, as ordered by the Court, but the parties were unable to resolve the
dispute With respect to three documents I-Ieadwaters relies on the attorney-client privilege with
respect to two documents and the Work product doctrine with respect to all three documents

The party raising a privilege has the burden of establishing the existence of the privilege
Fed. R. Civ. P. 26(b)(5). The objection must include sufficient information so that the Court and
opposing Counsel can assess the applicability of the privilege Watrs v. Federal Express Corp.,
No. 99-CV-70l, 2001 WL 1661474, at *6 (W.D. Mich. Apr. 1], 2001); Meridan Di`agonostics,
fire v. Yi., No. C-l-00-540, 2001 WL 1842463, at *9-10 (S.D. Ohio Mar. 9, 2001) (holding that a
privilege log is required to assess the applicability of the privilege).

The attorney-client privilege is the oldest of privileges and “courts are properly hesitant
to intrude upon the private communications of clients and their attomeys.” Royal Surplus Li'nes
Ins. CO. v. Sofamor Danek Group, Inc., 190 F.R.D. 505, 509 (W.D. Tenn. 1999). “Its purpose is
to encourage full and frank communication between attorneys and their clients and thereby
promote broader public interests in the observance of law and administration of justice.” Upjohn
CO. v. Um'ted States, 449 U.S. 383, 389 (1988). The privilege, however, is not absolute Um'tea'
States v. Gola'farb, 328 F.2d 280, 282 (6th Cir. 1964). The Sixth Circuit has defined the essential
elements of the attorney-client privilege as follows:

(1) Where legal advice of any kind is sought (2) from a professional legal advisor

in his capacity as such, (3) the communications relating to that purpose, (4) made

in confidence (5) by the client, (6) are at his instance permanently protected (7)

from disclosure by himself or by the legal advisor, (8) except the protection be
waived.

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Ia'. at 281 (quoting 8 Wigmore, Evz`dence § 2292, at 554 (McNaughton rev. 1961)). The privilege
“should not be extended to accomplish more than its purpose.” ]d. at 282; see also Humphreys,
Hutchenson & Moseley v. Donovam, 755 F.2d 1211, 1219 (6th Cir. 1985).

In a diversity case, the applicability of the attorney-client privilege is determined
according to state law. See Fed. R. Evid. 501. Therefore, the Court Will look to Tennessee’s
attorney-client privilege to determine if a privilege is applicable in this case In Tennessee, “[n]o
attorney . . . shall be permitted . . . to disclose any communication made to the attorney,” Tenn.
Code Amr. § 23-3-105 (2004); see also Boyd v. Comdala Network, Inc., 86 S.W.Sd 203, 213
(Term. Ct. App. 2002). “The privilege applies not only to the client’s communications but also to
the attorney’s communications to his or her client when the attorney’s communications are
specifically based on the client’s confidential communications or when disclosing the attorney’s
communications would . . . reveal the substance of the client’s confidential communications.”
Boya', 86 S.W.3d at 213.

Documents made in anticipation of litigation are privileged under the work product
doctrine Fed. R. Civ. P. 26(b)(3). “The party seeking the protection of the work-product
privilege has the burden of proving that the disputed documents are work product.” Royal
Sarplas Liries las v. Sofamor Danek Group, 190 F.R.D. 463, 473 (W.D. Tenn. 1999). The Sixth
Circuit established a procedural step-by-step process for courts to use when a work product claim
is made by a party. See Tolea'o Ealz`son Company v. G A Techno!ogies, Inc., 847 F.2d 335 ,
339-40 (6th Cir. 1988). Overall, the Court must do the following:

First, the party requesting the materials must make an initial showing that the

information contained therein is relevant to the subject matter of the pending
litigation and not otherwise privileged. Next, the party opposing production must

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demonstrate that the materials were prepared in anticipation of litigation by or for

that party's attomey or representative Then, the burden shifts back to the

requesting party to establish a substantial need of the materials and the inability to

obtain the substantial equivalent of the materials by other means without undue

hardship ln no event, however, should the court require the production of mental

impressions conclusions, opinions or legal theories of an attorney or other

representative concerning the litigation
Royal Surplus, 190 F.R.D. at 473. The Work product doctrine is designed to prevent
“unwarranted inquiries into the files and the mental impressions of an attorney . . . reflected, of
course, in interviews, statements, memoranda, correspondence, briefs, mental impressions
personal beliefs, and countless other tangible and intangible ways” and prepared in anticipation
of litigation. Ht'ckman v. Taylor, 329 U.S. 495, 510 (1947). However, the rule does not protect
from disclosure facts learned by an attorney, and courts have consistently held “that the work
product concept furnishe[s] no shield against discovery, by interrogatories or by deposition, of
the facts that the adverse party’s lawyer has learned, or the persons from whom he or she ha[s]
learned such facts . .” 8 Charles Alan Wright, Arthur R. Miller, & Richard L. Marcus, Fea'era!
Practi`ce and Procedure § 2023 (2d ed. 2004); see Hickman, 329 U.S. at 513.

II. The Three Documents
M_IDMLL

Document No. 1 is a request made by Covol Technology, lnc.’s CEO, Mr. Brent Cook,
for legal advice regarding two documents, which were previously produced to Plaintiffs.
Headwaters claims the attorney-client privilege and the work product doctrine apply to

Document No. l; however, Document No. l is a letter from Covol’s CFO to a third party, Mr.

J ames Davidson. The letter was not prepared by an attorney, and the letter was only sent to an

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attorney after Mr. Davidson signed the “Acknowledged and Agreed” portion of the letter. At that
point, it appears Mr. Cook sent the letter to Headwater’s counsel for advice

Because the substance of the letter is not legal advice of any kind sought from a
professional legal advisor in his capacity as such, the attorney-client privilege does not apply.
Furthermore, from the Court’s review of the letter, there is no indication that this letter was
prepared in anticipation of litigation by an attorney or other representative of Headwaters As
such, the work product doctrine is not applicable, and the Court concludes the letter should be
produced With respect to Document No. 1, the Court recommends the Motion to Compel
should be GRANTED. Headwaters should produce Document No. 1 within 1 1 days of entry of
Judge McCalla’s Order adopting this report and recommendation, if one is entered

B. Document No. 2

Document No. 2 is an lnteroffice Memorandum from one attorney to another attorney
involving the facts and law of this case Both attorneys work for Headwaters’ counsel. Because
the document appears to have been prepared in anticipation of litigation, the Court concludes
Document No. 2 is protected by the work product doctrine and should not be produced With
respect to Document No. 2, the Court recommends the Motion to Compel should be DENIED.

C. Document No. 3

Document No. 3 appears to be a draft of a letter from Headwaters’ counsel Larry Laycock
to Mr. J ames Davidson. The draft of this letter Was faxed to Mr. Stanley Kimball at Covol
Technologies, lnc. After review, the Court concludes the contents of this letter were prepared in

anticipation of litigation', therefore, Document No. 3 is protected by the work product doctrine

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and should not be produced With respect to Document No. 3, the Court recommends the

Motion to Compel should be DENIED.

CONCLUSION

The Court recommends that Headwaters should be required to produce Document No. 1
to Plaintiffs within 11 days of entry of an Order adopting this report and recommendation The
Court recommends that Document Nos. 2 and 3 are protected by the work product doctrine and
should not be produced

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

<:“:§ Wm## @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE ]UDGE

Date: M/-; @6)[, ZOOJ/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 357 in
case 1:02-CV-01111 was distributed by faX, mail, or direct printing on
May 18, 2005 to the parties listed

 

 

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